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CIVIL NON-JURY TRIAL OR MOTION HEARING
MINUTE SHEET                                                                          DATE:       3/1/22
 United States District Court                                Eastern District of Virginia - Richmond Division
 CASE TITLE                                                  CASE NO:       3:21cv252
 Synopsys, Inc.
                                                             JUDGE:    Gibney
 v.
 Risk Based Security, Inc.
                                                             COURT REPORTER: G. Halasz, OCR




MATTER COMES ON FOR: BENCH TRIAL ( ) MOTION HEARING (X )
     Motions for Summary Judgment [218] and [219]; Motions to Exclude Expert Opinions [206] and [233]

APPEARANCES:          Parties by (X )/with (   ) counsel



PROCEEDINGS:
WITNESSES EXCLUDED ON MOTION OF: PLAINTIFF(S) ( )  DEFENDANT(S) ( ) Court ( )
OPENING STATEMENTS MADE ( )       OPENING WAIVED ( )
PLAINTIFF(S) ADDUCED EVIDENCE ( )
DEFENDANT(S) ADDUCED EVIDENCE ( ) RESTED ( ) MOTION ( ) ____________________
EVIDENCE CONCLUDED ( )       ARGUMENTS OF COUNSEL HEARD ( x )


CASE CONTINUED UNTIL
ADDITIONAL NOTATIONS:
Findings stated from the bench; the motions to exclude as to Shostack and Cole are granted in part and denied in
part; the motion is granted as to Dr. Kirsch; Synopsys’s MSJ is granted as to trade secrets and tortious interference
claims; the trial will go forward on the copyright infringement claims; an opinion will enter; the motion in
limine/final pretrial conference is cancelled with the parties directed to submit new lists of exhibits and witnesses;
the parties directed to reach out to Magistrate Judge Hanes to schedule a settlement conference




Counsel for Plaintiff(s):

Patrick Michael, III, Christopher Pickens, Nathaniel Connally, III, Lauren Cury



Counsel for Defendant(s):

Andrew Samuels, Christopher Wiech, Stewart Pollock, Kevin Kirsch, C. Dewayne Lonas

____________________________________________________________________________________________
SET:            BEGAN:                  ENDED:                  TIME IN COURT:
9:30 a.m.                        9:35 a.m.                 3:55 p.m.                         4 hrs 35 mins
